Case 1:15-cv-05871-KPF Document 8 Filed 12/28/15 Page 1of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

(In the space above enter the full name(s) of the plaintiff(s)/petitioner(s). ) Sol cw) S\ a} C) c)

 

- against - MOTION

Lunde Siw 795 ek <X +L 9 Deconsdor

 

 

 

(in the space above enter the full name(s) of ihe dejfendani(s)/respondeni(s). )

PLEASE TAKE NOTICE that upon the annexed affirmation of

affirmed on Mee 2, ; 201%, and upon the exhibits attached thereto (delete ifno

(date)
exhibits), the accompanying Memorandum of Law in support of this motion (delete if there is no

 

Memorandum of Law), and. the pleadings herein, plaintiff/ defendant will move this Court, before
(circle one)

Leow. L. Pine 5 Yo. . United States District/Magistrate Judge, for an order

 

(Judge’s name) (circle one)
pursuant to Rule of the Fee eral Rules of Civil Procedure granting (state what you want the
Judge to order): Tg Or YW Onde YQ A 6 Syrc} oN (6) pea

 

   
 
 
 

 

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I declare under penalty of perjury that the foregoing is true and correct.

Dated: New Yov|t NY Signature _ tele, Pyice
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